Case 2:05-cV-02587-.]PI\/|-de Document 3 Filed 08/22/05 Page 1 of 2 Page|D 1

 

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IN THE UNITEI) sTATEs DISTRICT COURT 0 'c-
FOR THE wESTERN DISTRICT 0F TENNESSEE 5 AUG 23 h_ bn
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Plaintiff,
vs. Civil Action No.= 05-2587 Mlv

M. A. MORTENSON COMPANY,
FEDERAL INSURANCE COMPANY, and
AMERICAN HOME ASSURANCE COMPANY,

Defendants.

 

ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION FOR
EXTENSION OF TIME TO FILE ANSWER

 

IT APPEARING to the Court that Defendants’ Unopposed Motion for an
Extension of Time to File Answer is uncontested and well-taken;

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that
Defendants’ Unopposed Motion for Extension of Time to File Answer should be
GRANTED and Defendants will have until Friday, September 2, 2005 to file their

Answers to Plaintiff’s Complaint for Darnages.

 

 

Th!s document entered on the docket sh£`tj¢éj compliance
with Ru|e 58 and/or 79(3) FHCP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02587 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

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Honorable .1 on McCalla
US DISTRICT COURT

